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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CAUSE OF ACTION INSTITUTE,           )
                                     )
            Plaintiff,               )
                                     )
      v.                             )     No. 1:19-cv-778-CJN
                                     )
UNITED STATES                        )
DEPARTMENT OF COMMERCE,              )
                                     )
            Defendant.               )
____________________________________)

                  PLAINTIFF’S REPLY IN SUPPORT OF ITS
                   MOTION FOR ORDER TO SHOW CAUSE

      Defendant Department of Commerce’s (“Commerce”) opposition to Plaintiff

Cause of Action Institute’s (“CoA Institute”) motion for an order to show cause, see

ECF No. 19, rests on a fundamental misunderstanding of the operation of Federal

Rule of Civil Procedure 6(b)(1). See ECF No. 21. Commerce’s cursory opposition also

relies on inapt caselaw and, most damningly, fails to offer any positive defense, with

appropriate citation to legal authority, for the Department of Justice’s (“DOJ”)

apparent policy of presuming that timely filed extension motions will be granted as

an effective matter of right. See id.

      If the Court were to deny CoA Institute’s motion, it would create an incentive

for the federal government to continually game the judicial system by moving for an

extension of time at the last minute—an unfair play that disregards the Federal

Rules of Civil Procedure and which a non-government litigant would never attempt.

At the least, a mild sanction could begin to correct the government’s behavior.
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     I.       Commerce misinterprets Rule 6(b)(1) and fails to attend to the
              important distinction between timely filed extension requests
              and extension motions filed after a deadline has expired.

      Commerce argues that holding a party in contempt for failing to meet an

existing court-ordered deadline during the pendency of an extension motion would

“either render[] the Court’s explicit power to grant such motions nunc pro tunc a

nullity or put[] the Court on a clock that neither the Rues nor the Supreme Court has

imposed.” Id. at 2. But that position neglects the important distinction between

instances where a party requests to extend its deadline before that deadline has

expired, Fed. R. Civ. P. 6(b)(1)(A), and situations where a party moves to file (or act)

out-of-time after having already failed to meet its deadline and upon a showing of

“excusable neglect.” Id. 6(b)(1)(B).

      In this case, Commerce twice moved under Rule 6(b)(1) to extend its deadline

to file its motion for summary judgment. Those extension requests were filed before

the expiration of a court-ordered deadline. But neither of them included a concurrent

motion for the Court to stay proceedings, and nothing in Rule 6(b)(1)(A) or the

attendant caselaw suggests that an extension request entails an automatic stay

during the pendency of the request’s consideration by a court.

      Commerce was admittedly within its rights to request an extension, as it did,

but in doing so it assumed the risk that its request would not be granted—or, more

specifically, that it would not be granted in time—and that Commerce would be

required to meet its existing deadline. To understand a party’s filing obligations

otherwise would give an unfair advantage that could be prejudicial to an opponent.



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Indeed, if a court’s failure to rule on an extension request under Rule 6(b)(1)(A) before

the expiration of a deadline accordingly suspended that deadline ipso facto, then the

court could only be described as having effectively granted the extension. But that

result would deprive the court of its discretion to adjudicate the request.1

      The proper reading of Rule 6 is similarly clear when one considers a

hypothetical situation where a movant’s timely extension request is denied after the

expiration of a deadline. In such a case, the movant would have failed to meet its

deadline and it would be required to act on motion nunc pro tunc (if not within some

other time period ordered by the court). See Fed. R. Civ. P. 6(b)(1)(B). But a motion

under Rule 6(b)(1)(B) requires a “formal application” that meets the pleading

requirements of Federal Rule of Civil Procedure 7(b) and that sets forth “facts

constituting excusable neglect[.]” Inst. for Policy Studies v. Cent. Intelligence Agency,

246 F.R.D. 380, 383 (D.D.C. 2007). An extension request (or motion) under Rule

6(b)(1)(A) cannot simply be re-considered under Rule 6(b)(1)(B).2        See id. (“It is

questionable whether the Consent Motion meets the standard required by [Rule

6(b)(1)(B)].”); cf. Smith v. Dist. of Columbia, 430 F.3d 450, 456–57 (D.C. Cir. 2005)


1 Additionally, this outcome would place an opposing party in an especially difficult
position insofar as it also may be subject to court-ordered deadlines. Here,
Commerce’s extension motions would have adjusted the entire court-ordered briefing
schedule. But if the Court had not acted by granting the extensions, and Commerce
had not planned to meet its proposed deadlines, then CoA Institute would still have
been obliged to move for summary judgment as scheduled. In that sense, Commerce’s
position on the automatic suspension of deadlines would prejudice CoA Institute.
2 The requirement to file a proper Rule 6(b)(1)(B) motion is not taken lightly by the
courts. “Courts routinely refuse to accept filings under these circumstances even
where the delay is minor and no prejudice would result.” Inst. for Policy Studies, 246
F.R.D. at 382 (citing cases).
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(finding abuse of discretion by court in permitting an untimely filing in the absence

of the specific motion required by Rule 6(b)(1)(B)).

      The import of Rule 6(b)(1), and interplay between motions filed before and after

a deadline has expired, is clear: a party requesting an extension must be prepared to

meet its original deadline in the absence of the court acting. To conclude otherwise

would presume that the court will favorably dispose of an extension request, a

position DOJ appears to have taken in this case. And it would give the movant an

unfair advantage insofar as the court’s failure to act would effectively grant the

movant’s requested relief, which, again, is exactly what occurred here. If a Rule

6(b)(1)(A) motion is denied, and the original deadline has expired, then the movant

must file a new motion under Rule 6(b)(1)(B) and meet the applicable legal standards.

II.   Commerce relies on inapt case law.

      Commerce proffers paltry case law to support its position. And each of those

cases is entirely inapposite and fails to support Commerce’s position. The agency

first turns to Lujan v. National Wildlife Federation to argue that a “court may grant

[an] extension [motion] after the deadline passes.” ECF No. 21 at 1. But the Lujan

court was at best silent on that point and, in fact, carefully distinguished between a

“request” for an extension filed before the expiration of a deadline and a “motion” nunc

pro tunc. 497 U.S. 871, 896 n.5 (1990) (“Rule 6(b) establishes a clear distinction

between ‘requests’ and ‘motions,’ and the one cannot be converted into the other

without violating its provision[s].”). If anything, Lujan supports CoA Institute’s

reading of Rule 6(b)(1). Further, CoA Institute has not argued that this Court may



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not grant extensions after a deadline passes. Of course, it may do so. Rather, CoA

Institute maintains that, if an extension motion is not granted, the movant must be

prepared to file as previously ordered.

       Commerce also points to two cases as exemplifying the “regular[] applic[ation]

[of Rule 6(b)(1)] in federal district courts across the nation.” ECF No. 21 at 1. Yet

neither of those cases even speaks to the matter at hand. In Thompson v. United

States, the court merely recognized that Rule 6(b)(1)(A) allows a party to request an

extension “without motion,” so long as it is timely filed “for good cause.” No. 12-01659,

2013 U.S. Dist. LEXIS 120084, at *3 (D. Nev. Aug. 23, 2013). And in Go v. Rockefeller

University, the court only exercised its authority to grant sua sponte an extension for

a pro se litigant to file a motion for substitution of party under Rule 25. No. 04-4008,

2013 U.S. Dist. LEXIS 102460, at *12 (S.D.N.Y. July 19, 2013). If Commerce’s

interpretation of Rule 6(b)(1) were so commonplace as to be “regularly applied . . .

across the nation,” then Commerce could have identified at least one relevant case.

III.   Commerce fails to clarify and provide support for DOJ’s apparent
       policy of treating extension motions as presumptively granted, and
       CoA Institute’s motion is not moot.

       It bears repeating that aside from its unsupported argument about the proper

interpretation of Rule 6(b)(1), Commerce has done little to clarify DOJ’s policy on

whether a timely filed extension motion entails an automatic stay of court-ordered

deadlines.   Commerce has done even less to explain opposing counsel’s initial

representation that DOJ effectively assumes that non-dispositive motions will be

granted as a matter of course.



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      In the end, Commerce merely argues that its offense is not serious enough to

warrant a finding of civil contempt. But deadlines matter. And repeated abuse of

Rule 6(b)(1) should not go without consequence.         “‘[D]elays are a particularly

abhorrent feature of today’s trial practice. . . . Adherence to reasonable deadlines is

critical to restoring integrity in court proceedings.’” Inst. for Policy Studies, 246

F.R.D. at 382 (citing Geiserman v. MacDonald, 893, F.2d 787, 790 (5th Cir. 1990)).

      Consequently, CoA Institute’s motion is not entirely moot, despite the Court

granting Commerce’s second extension motion. Commerce’s contumacious acts in

this case are a matter of record, and CoA Institute’s request for sanctions to “deter

similar misconduct in the future,” Webb v. Dist. of Columbia, 146 F.3d 964, 971 (D.C.

Cir. 1988), is viable. Further, CoA Institute has proposed that the Court impose a

reduced page limitation on Commerce’s briefs. Because Commerce has yet to file its

reply in support of its motion for summary judgment and in opposition to CoA

Institute’s cross-motion for summary judgment, the Court can still grant some of the

additional relief set forth in the Proposed Order. See ECF No. 19-1.

                                    *     *      *

      For the foregoing reasons and those set forth in its motion for order to show

cause, Plaintiff CoA Institute respectfully requests that the Court grant the instant

motion and order the requested relief.




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Dated: August 22, 2019                  Respectfully submitted,

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